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                    UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
                  Criminal No. 12-305(2)(DSD/LIB)

United States of America,

                Plaintiff,

v.                                                              ORDER

Lava Marie Haugen,

                Defendant.



     Surya Saxena, Assistant U.S. Attorney, 300 South Fourth
     Street, Suite 600, Minneapolis, MN 55415, counsel for
     plaintiff.

     John J.E. Markham II, Esq. and Markham & Read, One
     Commercial Wharf West, Boston, MA 02110, counsel for
     defendant.



     This matter is before the court upon the motion for release

from custody, or in the alternative, a change of designation

pending appeal by defendant Lava Marie Haugen.             Based on a review

of the file, record and proceedings herein, and for the following

reasons, the court grants the motion in part.



                                  BACKGROUND

     The background of this matter is fully set forth in previous

orders, and the court recites only those facts necessary to resolve

the instant motion.     On October 7, 2013, Haugen was convicted of

(1) conspiracy to commit offenses against the United States,

(2) delivery of misbranded drugs received in interstate commerce,
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(3)   doing    acts        resulting    in    drugs    being     misbranded,        and

(4) conspiracy to distribute controlled substance analogues.                        ECF

No. 301.      On August 14, 2014, Haugen was sentenced to a term of

imprisonment of sixty months. ECF No. 425. Given Haugen’s medical

needs, the court found exceptional reasons to order her release

pending designation to a suitable Federal Medical Center.                     She has

since been designated to FMC Carlswell in Texas.

      Haugen filed a notice of appeal from her conviction on August

21, 2014.     She now moves to continue her release pending appeal.

In the alternative, Haugen requests the court to grant a short stay

of her surrender date and recommend a new assignment to the Federal

Correctional Institution in Waseca.



                                       ANALYSIS

I.    Release Pending Appeal Under § 3145(c)

      18   U.S.C.     §§    3143(b)(2)    and      3145(c)   govern     the   court’s

decision to release a person subject to mandatory detention pending

appeal.    During appeal, the court must detain any person convicted

of an offense under the Controlled Substances Act for which a

maximum term of imprisonment is ten years or more.                         18 U.S.C.

§§ 3143(b)(2); 3142(f)(1)(C).1 In limited circumstances, the court



      1
       Haugen was convicted, in relevant part, on one count of
Conspiracy to Distribute Controlled Substance Analogues, which
carries a maximum term of imprisonment of 20 years. See ECF No.
301; 21 U.S.C. §§ 813; 841(b)(1)(C).

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may order a release if the person meets the conditions set forth in

18 U.S.C. § 3143(b)(1)2 and if “exceptional reasons” clearly show

that “detention would not be appropriate.”          18 U.S.C. § 3145(c).

Circumstances entitling one to release under § 3145(c) must be

“clearly out of the ordinary, uncommon, or rare.” United States v.

Larue, 478 F.3d 924, 926 (8th Cir. 2007).

     Haugen argues that the issues she raises on appeal pose

substantial questions of law under § 3143(b)(1)(B).                Moreover,

because those issues are central to her conviction, she argues that

exceptional reasons exist to justify her continued release under

§ 3145(c).   The court disagrees.

     A question is “substantial” under § 3143(b)(1) if it is “a

close question or one that could go either way.”          United States v.

Powell, 761 F.2d 1227, 1234-35 (8th Cir. 1985).          The question must

be “so integral to the merits of the conviction that it is more

probable than not that reversal or a new trial will occur if the



     2
        Section 3143(b)(1) requires the court to detain any
convicted and sentenced person pending appeal, unless it finds

     (A) by clear and convincing evidence that the person is
     not likely to flee or pose a danger to the safety of any
     other person or the community ...; and

     (B) that the appeal is not for the purpose of delay and
     raises a substantial question of law or fact likely to
     result in [a reversal, new trial, or reduced sentence].

18 U.S.C. § 3143(b)(1). The parties agree, and the court finds,
that Haugen is not likely to flee or pose a danger to others.


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question is decided in the defendant’s favor.”              Id. at 1234.        The

court must assume it committed error “and then assess the impact of

such assumed error on the conviction.”            Id.

     Haugen claims that three issues on appeal are substantial.3

Without assessing the likelihood of Haugen’s success on appeal, the

court recognizes that a finding in her favor on any of those issues

could result in a reversal or new trial on one or more of her

charges. Haugen fails to show, however, that these questions alone

provide “exceptional reasons” for her release.

     Finding a substantial question on appeal is “foundational” to

the court’s preliminary determination under § 3143(b)(1).                       See

United States v. Koon, 6 F.3d 561, 564 (9th Cir. 1993)(Rymer, J.,

concurring).        The court must also find exceptional reasons beyond

those typically required as a condition of release. “[B]efore

authorizing release, courts ordinarily find both extremely unique

personal hardship and a potential for a reduced sentence or success

on appeal.”         United States v. Green, 250 F. Supp. 2d 1145, 1150

(E.D.       Mo.   2003)(emphasis   added).      Other   factors     that   courts

consider include the unusually harsh nature of the detention, the



        3
       Specifically, Haugen challenges the court’s inclusion of a
jury instruction setting forth a two-part test to determine whether
a substance is a controlled substance analogue.           She also
challenges an instruction regarding knowledge requirements under
the Food, Drug, and Cosmetic Act. Finally, Haugen argues that the
Drug Enforcement Agency acted without authority in scheduling JWH-
018 as a controlled substance and, as a result, all charges related
to JWH-018 analogues should have been dismissed.

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likelihood     of     recidivism,    the     defendant’s        low     culpability     in

relation to the sentence, and the extent of cooperation with the

government. Id.; see also United States v. Corum, No. 01-236, 2003

WL 21373219, at *3-4 (D. Minn. May 22, 2003)(finding exceptional

reasons for release where defendant raised a novel issue on appeal

and faced potential deportation).

      The court initially found that Haugen’s unique medical needs

constituted      an    exceptional        circumstance.           Her     release      was

conditioned on a designation to an appropriate Federal Medical

Center.    Now that Haugen has been assigned to FMC Carlswell, the

court does not find any additional “clearly out of the ordinary,

uncommon, or rare” circumstances for her release.4                        As a result,

release pending appeal is not warranted.

II.   Temporary Stay of Surrender Date

      Haugen    next     requests    the     court      to   temporarily       stay    her

surrender date and recommend assignment to the Federal Correctional

Institution    in     Waseca.       The    Bureau of         Prisons     has exclusive

authority to designate the place of a prisoner’s confinement.                          See

18 U.S.C. § 3621(b).            When designating a facility, the BOP may

consider   the      recommendations         of   the     sentencing      court.        Id.

§ 3621(b)(4).         The court notes that, upon Haugen’s request, it


      4
       Indeed, it was out of the ordinary for the court to grant
Haugen’s initial release as well.      “[M]ere personal reasons,
including caring for a family or gainful employment, are not
‘exceptional.’” Green, 240 F. Supp. 2d at 1149 (citing United
States v. Mostrom, 11 F.3d 93, 95 (8th Cir. 1993)).

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recommended designation to an appropriate medical facility.                    The

BOP has carried through with that recommendation.                Nevertheless,

equitable principles warrant a recommendation by the court that

Haugen be designated to a suitable Minnesota facility, such as the

Federal Correctional Institution in Waseca, Minnesota.                   As such,

the court grants a two-week stay of Haugen’s voluntary surrender

date to provide the BOP with additional time to consider this

recommendation.



                                 CONCLUSION

     Accordingly, based on the above, IT IS HEREBY ORDERED that the

motion   for   release   from    custody      pending   appeal,     or    in   the

alternative, a change of designation [ECF No. 454] is granted in

part, as set forth above.


Dated:   September 22, 2014


                                           s/David S. Doty
                                           David S. Doty, Judge
                                           United States District Court




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